Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 1 of 10 Page|D 121

   

    

rN THE UNITED sTArEs DISTRICT COURT `F"£`D B`Y VFHZ_. D.'C'.
FoR THE WESTERN DISTRICT oF TENNESSEE
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RECLPROCAL or AMERicA (RoA) »» JS

SALES PRACTICES LITIGATION This Document Relates to:
Civil Action No. 04-2479

 

ORDER GRANTING MOTION OF DEFENDANTS RICHARD WITKOWSKI
AND ATLANTIC SECURITY, LTD. TO DISMISS FOR LACK OF PERSONAL
JURISDICTION AND DENY]NG AS MOOT DEFENDANTS'
MOTION TO QUASH SERVICE OF PROCESS

 

Before the Court in this multi-district litigation are the motions of the Defendants, Richard
Witkowski and Atlantic Security, Ltd. ("ASL"), to dismiss this action and to quash service of
process, pursuant to Rules l?.(b)($) and lZ(b)(Z) of the Federal Rules ofCivil Procedure. Plaintiffs
would normally have thirty days in Which to respond], but according to the docket, no response has
been filed.

According to the complaint, defendant Reciprocal of America ("ROA") is a Virginia
unincorporated association and reciprocal insurer which provides insurance to hospitals, physicians
and lawyers, as well as reinsurance coverage to, among others, Doctors lnsurance Reciprocal, Risk
Retention Group ("DTR"), not a party to this case. The Plaintiffs, Michael A. Jaynes, P.C. and
Michael A. Jaynes, as class representative, allege that defendant First Virginia Reinsurance ("FVR"),
incorporated in Bermuda, was "t0 serve as a reinsurer of all ofROA's retained share of risk on the
physician and lawyer malpractice insurance business.“ (Amended Cornpl. at 11 37.) ln addition, "the

initial purpose of FVR was to allow ROA's lawyer and physician insureds to defer the payment of

 

'W.D. renn. Civ. R. 7.2(3)(2)

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Case 2:O4-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 2 of 10 Page|D 122

federal income taxes This had the further effect of limiting regulatory oversight of the various
transactions entered into by the Defendants.“ (Arn. Compl. at 11 37.) DlR was formed pursuant to
the authorization of ROA's board of directors in 1989 or 1990. (Am. Compl. at 11 43.) The entity,
domiciled and licensed in Tennessee, began writing insurance for the physician line of business
previously insured by ROA. (Am. Cornpl, at 11 43.)

ln the early l990s, ROA entered into purported reinsurance contracts with DIR as well as
other related entities (Arn. Compl. at 11 47.) Shortly thereafter, the risk reinsured by ROA for DLR
was retroceded to defendant General Reinsurance Corporation, (“Gen Re”), which, in turn,
retroceded to FVR. (Am. Compl. at 11 51 .) While these agreements Were disclosed to the regulators
and the public, certain non-contractual arrangements side letters and other agreements purporting
to modify the original contracts were not disclosed (Am. Compl. at 11 57.) These non-disclosures
were, the Plaintiffs aver, fraudulent and in some cases violative of statutes requiring prior written
approval of particular transactions (Am. Compl. at 11 57.)

The Plaintiffs allege that ASL is a Bermuda corporation with its principal place of business
in Hamilton, Bermuda; that ASL Was the managing agent for FVR, also located in Hamilton,
Bermuda; and that Witkowski Was an ASL principal/ employee involved in the management of FVR.
It is claimed that Witkowski and ASL were complicit and cooperative in a scheme to make loans to
FVR, disguised and misrepresented as reinsurance in order to deceive regulators regarding FVR's
ability to satisfy its obligations (Am. Compl. at 11 67.) The implementation of these loans,
according to the Plaintiffs, involved the use of wire and mail communications (Am. Cornpl. at 11
69.)

Plaintiffs’ causes of action in this case include Civil RICO claims, founded upon 18 U.S.C.

Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 3 of 10 Page|D 123

1961, et. seq. Rule 12(b)(2) permits the Court to dismiss a complaint for “lack of jurisdiction over
the person.” “Where a federal court's subj ect matter j urisdiction over a case Stems[, as it does here,]
from the existence of a federal question, personal jurisdiction over a defendant exists if the defendant
is amenable to service of process under the forum state's long-arm statute and if the exercise of
personal jurisdiction would not deny the defendant due process” Bridgeport Music, lnc. v. Still N
The Water Publ'g, 327 F.3d 472, 477 (6th Cir.), M_. QQM, 540 U.S. 948, 124 S.Ct. 399, 157
L.Ed.2d 279 (2003) (citations and internal quotation marks omitted).

Plaintiffs, who are Tennessee residents filed this case in the United States District Court for
the Western District ofTennessee; therefore Tennessee law applies as to j urisdiction. The Tennessee
long-arm statute renders non-residents subject to the “jurisdiction of the courts of this state as to any
action or claim for relief arising from . . . [e]ntering into any contract of insurance, indemnity, or
guaranty covering any person, property, or risk located within this state at the time ofcontracting.”
Tenn. Code Ann. § 20-2-214(a)(5). The statute is “construe[d] to extend to the limits of due
process.” Neal v. Janssen, 270 F.3d 328, 331 (6th Cir. 2001).

ln Youn v. Track ln.c., 324 F.3d 409, 417 (6“‘ Cir. 2003), the Sixth Circuit instructed that,

 

[t]he bedrock principle of personal jurisdiction due process analysis is that when the
Defendant is not physically present in the forum, [it] must have certain minimum
contacts with it such that the maintenance of the suit does not offend traditional
notions of fair play and substantial justice. “Minimum contacts” exist when the
Defendant’s conduct and connection with the forum State are such that [it] should
reasonably anticipate being haled into court there. lt is necessary that the Defendant
purposefully avail [itself1 of the privilege of conducting activities within the forum
State, thus invoking the benefits and protections of its laws This purposeful
availment requirement ensures that a defendant will not be haled into a jurisdiction
solely as a result of random, fortuitous, or attenuated contacts, or of the unilateral
activity of another party or a third person. Random, fortuitous, or attenuated activity
is not a constitutionally adequate basis for jurisdiction

Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 4 of 10 Page|D 124

Xgu_n, 324 F.3d at 417 (internal citations and quotation marks omitted).

Both “general” and “specific” jurisdiction may be adequate bases for personal jurisdiction
Conti v. Pneumatic Prods. Corp., 977 F.2d 978, 981 (6‘h Cir. 1992). Generaljurisdiction exists
“when the defendant’s contacts with the forum state are ‘substantial’ and ‘continuous and
systematic,’ so that the state may exercise personal jurisdiction over the defendant even if the action
does not relate to the defendant’s contacts with the state.” mii_{_c_>_lin, 324 F.3d at 417-18. A federal
court has specific jurisdiction “When ‘a State exercises personal jurisdiction over a defendant in a
suit arising out ofor related to the defendant’s contacts with the forum.”’ Ld. (quoting Helicopteros
Nacionales de Colombiaq S.A. v. Hall. 466 U.S. 408, 414 n.8, 104 S.Ct. 1868, 80 L.Ed.2d 404
(1984)).

ln Southern Machine Co. v. Mohasco lndustries. lnc.. 401 F.2d 374, 381 (6"1 Cir. 1968), the
Sixth Circuit articulated a three-part test for determining the appropriateness of a federal court’s
exercise of specific jurisdiction: (1) “the defendant must purposefully avail [itself] of the privilege
of acting in the forum state or causing a consequence in the forum state;” (2) “the cause of action
must arise from the defendant’ s activities there;” and (3) “the acts of the defendant or consequences
caused by the defendant must have a substantial enough connection with the forum state to make the

exercise of jurisdiction over the defendant reasonable.” _S_e_e_ also Youn, 324 F.3d at 418. Failure to

 

satisfy any one of the Southern Machine Co. elements “means that personal jurisdiction cannot be

invoked.” Southern Svs.` Inc. v. Torrid Oven Ltd., 58 F.Supp.2d 843, 848 (W.D. Tenn. 1999).
With respect to the reasonableness element where a defendant is Outside the United States,

the Supreme Court has cautioned that “[t]he unique burdens placed upon one Who must defend

oneself in a foreign legal system should have significant weight in assessing the reasonableness of

Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 5 of 10 Page|D 125

stretching the long arm of personal jurisdiction over national borders.” Asahi Metal Indus. Co.i Ltd.

v. Superior Court ofCal.. 480 U.S. 102, 114, 107 S.Ct. 1026, 1033, 94 L.Ed.2d 92 (1987); §§ a_l_s_c_)

City of Monroe Employees Retirement Sys. v. Bridgestone Corp., 399 F.3d 651, 666 (6th Cir. 2005),

reh'g g banc denied (May 3, 2005). “Great care and reserve should be exercised when extending

out notions of personal jurisdiction into the international field.” Asahi Metal Indus. Co. 480 U.S.

 

at 115, 107 S.Ct. at 1034 (quoting United States v. First Nat‘l Citv Bank 379 U.S. 378, 404, 85 S.Ct.
528, 542, 13 L.Ed.2d 365 (1965) (Harlan, .`1., dissenting)). Whether the exercise of personal
jurisdiction over a foreign defendant is “reasonable” requires a balancing of the following factors:
“the burden on the defendant, the interests of the forum State, and the plaintiffs interest in obtaining
relief.” Bridgestone Corp., 399 F.3d at 666 (citing Asahi Metal Indus. Co., 480 U.S. at 113, 107
S.Ct` 1026)_

As the Defendants have challenged the Court's jurisdiction over this matter, the burden of
establishing the existence of personal jurisdiction lies with the Plaintiff. §_e_e Neogen Com. v. Neo
Gen Screening, hic., 282 F.3d 883, 887 (6th Cir. 2002); Siebelink v. Cyclone Airsports, Ltd., No.
1:01-CV-591, 2001 WL 1910560, at *1 (W.D. Mich. Nov. 27, 2001). ln the absence of an
evidentiary hearing on the jurisdiction question,

the court must consider the pleadings and affidavits in a light most favorable to the

plaintiffl To defeat such a motion, the plaintiff need only make a prima facie

showing of jurisdiction. Furthermore, a court does not weigh the controverting
assertions of the party seeking dismissal.
Dean v. Mote16 Operating L.P., 134 F.3d 1269, 1272 (6th Cir. 1998) (citations omitted). A plaintiff

may not, however, rest on his pleadings “but must set forth specific facts showing that this Court has

jurisdiction” Siebelink, 2001 WL 1910560, at *1 (citing Theunissen v. Matthews, 935 F.2d 1454,

Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 6 of 10 Page|D 126

1458 (6th Cir. 1991)).

ln support of his motion to dismiss, Witkowski, who identifies himself as a citizen of New
Zealand who is currently a permanent resident of Bermuda and the senior vice president and a
director of ASL, (B ASL and Richard Witkowski's Mot. to Quash Service of Process and for
Dismissal for Lack of Personal Jurisdiction, Ex. 1 (Decl. of Richard Witkowski (“Witkowski
Decl.”)) at 1111 2, 4) maintains that he has never visited Tennessee and further argues in his motion
that he has not done business in Tennessee either on his own behalf or that of ASL. (§§§ Witkowski
Decl. at 11 3). With respect to ASL, Witkowski submits that “[a]ll meetings of ASL’s Board of
Directors have been held outside the United States of America[;] [a]ll directors are residents of
Bermuda and are not citizens or residents of the U.S.A.[;] ASL has no offices, employees outside
ofBermuda[;] ASL has no assets outside of Berrnuda[;] ASL manages captive insurance companies
registered in Bermuda[;] [n]one of the companies ASL manages is licensed in Tennessee or
organized under its laws[;] [n]o one has ever acted on behalf of ASL in Tennessee[; and] ASL has
never contracted with or done business with any Tennessee entity.” (w Witkowski Decl. at 1111 5-9).

The mere existence of a contract between a non-resident and a citizen of the forum is not
sufficient to confer jurisdiction over the non-resident E Calphalon Corp. v. Rowlette, 228 F.3d
718, 722 (6th Cir. 2000). In Nationwide Mutual lnsurance Co. v. Trvg International lnsurance Co.,
Lt_d., 91 F.3d 790 (6th Cir. 1996), the Sixth Circuit was presented with a Rule 12(b)(2) motion filed
by the defendant, a Danish reinsurer. Nationwide Mut. Ins. Co., 91 F.3d at 791. The plaintiff, an
Ohio insurance company, sought to show in response to the motion that personal jurisdiction over
the defendant was appropriate under the Ohio long-arm statute, which, like the Tennessee statute,

extended to the limits of the due process clause. § at 791, 793. ln support of the existence of

Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 7 of 10 Page|D 127

general jurisdiction, the plaintiff relied on the following contacts between the defendant and the State
of Ohio: Tryg International's prior reinsurance agreement with another Ohio company, a prior
reinsurance agreement between Tryg lntemational and Nationwide, and the defendants three-percent
participation in a reinsurance pool operated by Nationwide Ld. at 791, 793-94. The court
determined that these contacts were insufficient to establish general jurisdiction noting that “[n]one
of the agreements required Tryg lnternational to send its representatives to Ohio to conduct any
business in the state, and Tryg lnternational's performance under the agreements did not require it
to conduct substantial activities in Ohio.” § at 794.

Moreover, Nationwide argued that the following facts, which Tryg Intemational did not
dispute, gave rise to a finding of specific jurisdiction: Tryg International sent a letter to Nationwide
agreeing to the three-percent pool participation; the defendant knew that Nationwide, in its capacity
as underwriter of the pool, would underwrite reinsurance risks on the pool's behalf, collect premiums
on risks and place them in Ohio bank accounts, adjust losses and pay claims in Ohio, provide
accounting statements in Ohio, and require Tryg lnternational to remit funds to the plaintiff in the
state to cover losses; Tryg international entered into reciprocal reinsurance agreements with
Nationwide as a participant in the pool; after the agreement's collapse, Tryg lnternational “sent an
agent to Ohio in an attempt to resolve the dispute”; the defendant “solicited business from
Nationwide during the negotiations as a potential method of resolving the current dispute”; and
“Tryg International realized a profit from its contacts with Ohio and affected commerce in Ohio as
a result of the reinsurance agreement, which was heavily regulated by Ohio statutory law.” Ld. at
794-95. it was also undisputed that the agreement was negotiated in Monte Carlo and that the

defendant had never “had an office, owned property, solicited business, or sent agents for the

Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 8 of 10 Page|D 128
purpose of soliciting business in the state of Ohio.” ld_. at 795 .

ln analyzing the contacts for purposes of determining jurisdiction the court recognized that
the activities of Nationwide pursuant to the contract were irrelevant, as “the unilateral activity of
those who claim some relationship with a non-resident defendant cannot satisfy the requirement of
contact with the forum State.” LCL (quoting Helicopteros Nacionales dc Colombia, 466 U.S. at 417,
104 S.Ct. at 1873). Focu.sing then on the actions of Tryg lnternational, the court found that the
defendant's contacts With respect to Ohio were not sufficient to establish specific jurisdiction,
particularly in light of the international nature of the relationship I_d. at 796-97.

The contacts in this case are substantially more attenuated than those present in Nationwide
M. I-I.ere, the sole contact alleged by Plaintiff in his Complaint is that FVR was the reinsurer
of ANLIR and that the companies had common managers, which, in light of Nationwide Mutual,
simply is not sufficient to establish general or specific jurisdiction in this forum. Accordingly, the
motion to dismiss is GRANTED. Based on the Court's decision, the Defendants' requests to quash
service of process are DENIED as moot.

1T lS SO ORDERED this A\day of August 2005

doran

A EL BREEN
JNIT STATES DISTRICT JUDGE

 

UNITED STATES DISTRIC COURT- WESTERl\l DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 162 in
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Case 2:04-md-01551-.]DB-tmp Document 162 Filed 08/02/05 Page 10 of 10 Page|D 130

Honorable .1. Breen
US DISTRICT COURT

